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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- X
Nicholas MAGALIOS,                                              :
                                    Plaintiff,                  :    19-cv-6188 (CS)
                                                                :
                    – against –                                 :   NOTICE OF MOTION
                                                                :
C.O. Matthew PERALTA, et al.,                                   :
                                                                :
                                    Defendants.                 :
-------------------------------------------------------------- X

        PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in Support

of Defendants’ Motion for a new Trial, or a Remittitur of the Damage Award, and upon all the

pleadings and proceedings heretofore had herein, Defendants Peralta, Bailey, and Blount hereby

moves for an Order pursuant to Rule 59(e) of the Federal Rules of Civil Procedure granting a new

trial or a remittitur of the punitive damage awards, and for such further relief as this Court deems

just and proper.

        PLEASE TAKE FURTHER NOTICE that pursuant Rule 59(c), opposition papers, if

any, must be served upon undersigned counsel on or before July 12, 2021.

Dated: New York, New York
       June 28, 2021
                                                              LETITIA JAMES
                                                              Attorney General of the
                                                              State of New York
                                                              Attorney for Defendants
                                                     By:
                                                               /s/ Jessica Acosta-Pettyjohn
                                                              Jessica Acosta-Pettyjohn
                                                              Bruce J. Turkle
                                                              Assistant Attorney General
                                                              28 Liberty Street, 18th Floor
                                                              New York, New York 10005
                                                              (212) 416-6551; -8524
                                                              Jessica.acosta-pettyjohn@ag.ny.gov
                                                              Bruce.turkle@ag.ny.gov
TO:     All Counsels
        Via ECF
